        Case 20-10014-mdc                  Doc 146      Filed 04/22/20 Entered 04/22/20 23:59:53                           Desc Main
Fill in this information to identify the case:
                                                       Document     Page 1 of 13

Debtor Name                                                  BODY TRANSIT, INC.

D/B/A RASCALS, INC.                                          _ United States

Bankruptcy Court for the: EASTERN DISTRIC OF PA

CASE NUMBER 20-100014
                                                                      (State)
                                                                                                         X Check if this is an amended filing
Case number:


Official Form 425A

AMENDED Plan of Reorganization for Small Business Under Chapter 11
SUBCHAPTER V APRIL 22, 2020

BODY TRANSIT, INC. D/BA/ RASCAL’S FITNESS’s Plan of Reorganization, Dated APRIL 22, 2020
     Background for Cases Filed Under Subchapter V

          A. Description and History of the Debtor’s Business Pursuant to 11 U.S.C. Section 1190(1)
 The Debtor is a Pennsylvania corporation in the business of previously operating three health and fitness clubs
 in Montgomery County, Pennsylvania. The Debtor’s main location is in Collegeville, Pennsylvania at the
 Collegeville Shopping Center with an address of 222 East Main Street, Collegeville, Pennsylvania (the
 “Collegeville Location”). The second location was in Limerick Township, Pennsylvania at the Ridge Plaza
 Shopping Center with an address of 463 West Ridge Pike, Limerick, Pennsylvania (the “Limerick Location”).The
 assets at this location will be sold pursuant to court approval on April 28, 2020. The third location was in
 Pottstown, Pennsylvania at the Suburbia Shopping Center with an address of 54-58 Glocker Way, North
 Coventry Township, Pottstown, Pennsylvania and was recently sold with approval by this Court on February 13,
 2020 (the “North Coventry Location”).

 As previously noted on multiple documents filed in this case, the Debtor had hoped to wait to file the instant
 chapter 11 until the Debtor had (a) entered into a lease amendment with 451 West Ridge Pike, L.P., (the
 debtor’s Limerick, Pennsylvania landlord, (the “Limerick Landlord”); (b) the Debtor had entered into a
 new and more affordable equipment lease with Univest Bank and Trust Company (the “Univest
 Equipment Lease”); (c) after the Debtor’s proposed sale of its assets located at North Coventry
 Location (the “North Coventry Sale” and the “North Coventry Assets”); and (d) the enactment of the
 Small Business Reorganization Act of 2019 in February, 2020.

 Unfortunately, on January 2, 2020, the Debtor’s bank accounts were surprisingly levied two days before
 Debtor’s payroll was scheduled based on a confession of judgment entered in Montgomery County by the
 Limerick Landlord.

 Debtor was forced to file an emergency chapter 11 petition late on the evening of January 2, 2020 in order for
 the Debtor’s payroll funds to be released and thereby scrapped the Debtor’s plans to file an orderly chapter 11
 as set forth above. As a result of the emergency chapter 11, the Debtor suffered irreparable harm from the
 loss of many part-time employees at its Limerick Location and the potential loss of the Buyer for the North
 Coventry Sale. The Debtor obviously, was therefore unable to enter into a more favorable lease
 agreement/amendment with the Limerick Landlord at the time of the petition date

 Since the petition date, the Debtor has been active and cooperative in its chapter 11, responding to Motions
 and having the Debtor’s principal appear at a Section 2004 deposition requested by First Bank.. Subchapter V
 of the Small Business Reorganization Act (the “SBRA”) was created specifically with this type of Debtor in mind.
 The Debtor is a typical “mom and pop” business that has operated in Montgomery County since 2007. The
 Debtor believes this proposed Plan of Reorganization (the “Plan”) is fair and equitable based on the Debtor’s
 projected disposable income and thus, entirely feasible.
Official Form 425A                          Plan of Reorganization for Small Business Under Chapter 11                             page 1
       Case 20-10014-mdc        Doc 146      Filed 04/22/20 Entered 04/22/20 23:59:53            Desc Main
                                            Document     Page 2 of 13
 The Debtor’s Creditors:
 The Debtor’s only real secured creditor is First Bank which has a lien in all of the Debtor’s assets, tangible and
 intangible. The Debtor and First Bank have a long and mostly amicable relationship as First Bank (and its
 predecessor, Bucks County Bank) financed all of the Debtor’s running capital since the Debtor began operating
 in 2007. First Bank filed four (4) poofs of claim in the Debtor’s bankruptcy totaling approximately $1,110,343.
 First Bank received funds from the North Coventry Sale in the amount of $111,103; has a priority administrative
 claim in the amount of $22,876 and is expected to received proceeds from the sale of the Limerick Location
 equipment in the amount of approximately $32,000. First Bank’s receipt of these funds reduces their claim to
 $944,364,000. The Debtor is concurrently filing with this plan a Motion to Determine And Value First Bank’s
 Secured Claim (the “Valuation Motion”). Based on the facts set forth in the Valuation Motion, First Bank’s
 Secured Claim is determined at $317,578.82, which is the amount set forth in the proposed payments in
 Exhibit “A, A-1 AND A-2.”

 Complicating the Debtor’s reorganization process, First Bank made a Section 1111(b) election at the
 suggestion of the Court. The Debtor objects to First Bank’s election as such election would essentially void all
 of the provisions set forth in the SBRA which was enacted to make the reorganization process easier, not more
 difficult for a small business owner. Moreover, if the value of the debtor’s property in which the secured creditor
 has an interest is of inconsequential value, the secured creditor is prohibited from making such election. See 11
 U.S.C. Section 1111(b)(1)(B)(i).

 The value of the Debtor’s property in this case is inconsequential and has zero value. The only property
 still held by the Debtor is the equipment in the Collegeville Location and some cash on hand. The Collegeville
 Location had no value as a going concern as of the petition date as set forth in the Valuation Motion. Due to the
 Covid-19 epidemic, the value of the equipment in the Collegeville Location is now worth nothing. Gold’s Gym,
 Retro Fitness and 24-Hour Fitness are closing and considering bankruptcy. The shuttering of these large-scale
 gyms is creating a glut of fitness equipment on the specialized market making the equipment impossible to sell.
 The Debtor was fortunate to implement the sale process for the Limerick Location prior to the Covid-19
 shutdown. The cash on hand will soon be depleted by partial rent for the Collegeville Location, payroll, payroll
 taxes, utilities and additional cleaning supplies due to Covid-19 for the Collegeville Location.

 The Debtor’s other Secured Creditor is Univest Bank. The Debtor entered into a lease financing agreement
 with Univest Bank (“Univest”) prior to the petition date for gym equipment financing. Some of the equipment
 was delivered prior to the Petition Date, but approximately 5 pieces of equipment have not been delivered and
 funds have not been released due to Univest’s concerns with the Debtor moving forward with a confirmable
 plan. The Debtor proposed gradually increased payments to Univest in its Plan.

 The Debtor’s Administrative Claims are being paid in full through the plan per Section 1191(e) of Subchapter
 V based on the claims filed as of the filing of this Plan.

 The Debtor’s proposed Plan makes no payments to unsecured creditors.

 Claims Bar:
 The Debtor requests that as of the filing of this Plan, any further filed claims are barred and only the claims filed
 to date are considered in the Debtor’s Plan. All of the Debtor’s creditors have received notice of the bankruptcy
 and have either actively participated in the bankruptcy or failed to participate at all.


 Debtor’s Proposed Plan:
 In determining a plan for reorganization and calculation of the Debtor’s Projected Disposable Income under 11
 U.S.C. Section 1191(d), it is important to understand the history of the Debtor in regard to "membership
 numbers". The Debtor uses membership numbers to drive revenue projections. Each membership fee on the
 Disposable Income Spreadsheet and Plan Payments (attached as Exhibit “A, A-1 AND A-2”) includes an
 annual fee of $39 and a monthly dues fee of $29.99.

 Debtor’s monthly membership fees were not always $29.99. These fees have been increased over the Debtor’s
Official Form 425A               Plan of Reorganization for Small Business Under Chapter 11            page 2
       Case 20-10014-mdc        Doc 146   Filed 04/22/20 Entered 04/22/20 23:59:53 Desc Main
 most recent period of distress to supplement decreasedPage
                                         Document           3 of 13 at the Limerick Location and increased
                                                        membership
 rental expense at this same location. Nevertheless, Debtor’s monthly and annual fees are still within market
 parameters. In order to keep members satisfied in light of the minimal increases in fees, Debtor offered extra
 options to members such as small group personal training and an “InBody” medically based personal fitness
 analysis.

 As recently as 2018 the Limerick Location’s gross income was $601,378 per year or the equivalent of $50,114
 per month – or roughly 1,780 recurring memberships at the 2018 price point – making the Limerick Location,
 the Debtor’s most profitable in 2018.

 In 2019 however, the bottom dropped out for Limerick, losing over $152,000 of annual income or about 600
 members. This reduction was mostly due to the fact that rent at Limerick went up 40% within this time frame
 and a Planet Fitness moved in 1.5 miles down the road causing the Debtor to first consider bankruptcy
 protection. It was at this point that the Debtor reached out to First Bank seeking assistance in a rebranding
 effort, and First Bank agreed to lend additional funds in early 2019.

 The structure of this proposed Plan was actually first submitted over a year ago to First Bank and included the
 following:

 1. Sale of the North Coventry Location;
 2. Re-branding, sale or closure of the Limerick Location; and
 3. Focus of time and attention on Collegeville Location to attain profitability.

 Based on the ideas submitted to First Bank over a year ago, the Debtor has significantly achieved most of the
 goals set forth above: Sale of North Coventry as a going concern; sale of the Limerick Location equipment;
 and in spite of the Covid-19 pandemic, the Collegeville location can carry the Debtor through a feasible five (5)
 year plan that is fair and equitable to First Bank, Brixmoor (Collegeville Plaza Associates) and Univest.

 The Collegeville Plan:
 The Collegeville Location opened up in 2015 as the Debtor’s newest location.

 It is a demographic the Debtor’s principal is intimately knowledgeable about, having owned a health club in this
 demographic from 1990 to 2004. Collegeville also has the least competition.

 2016 gross income for Collegeville was $360,000 per year.
 2017 gross income was $412,000 per year.
 2018 gross income for Collegeville was $455,000.

 2019 gross income for Collegeville was $477,828.37
 The above numbers indicate movement in the right direction and why the Debtor is focused on Collegeville.

 Debtor is confident that the closure of Limerick and a focusing on marketing of new offerings at Collegeville will
 easily cause an additional 200 memberships from the Limerick location to Collegeville. Conveniently, 177 of the
 current 1,100 Limerick members live as close or closer to the Collegeville location. The Debtor estimates the
 200 members who migrate from the Limerick Location to the Collegeville Location to be conservative.
 Moreover, the closing of Gold’s Gym, Retro Fitness and 24-Hour Fitness in the area, will lead more of these
 members to the Debtor’s Collegeville Location.

 Debtor’s goal is to bring Collegeville to 2,000 members, but even 1,000 memberships make the Debtor’s Plan
 fair, equitable and feasible – in spite of the current Covid-19 shutdown.

 The Plan proposes that “Month One” of plan payments begin 60 days AFTER the Governor of Pennsylvania
 re-opens Pennsylvania business with no restrictions. Debtor expects that the Limerick Location members will
 migrate sometime around Month 3.

 The Debtor’s Plan moving forward is summarized as follows:
Official Form 425A               Plan of Reorganization for Small Business Under Chapter 11          page 3
       Case 20-10014-mdc              Doc 146       Filed 04/22/20 Entered 04/22/20 23:59:53             Desc Main
                                                   Document     Page 4 of 13
      a. Debtor’s Plan calls for 200 Limerick Location members to transfer from Limerick as a conservative goal.
         All memberships are in one system so they will all become Collegeville members until they cancel.
      b. Debtor will generate additional revenue from selling small group training and market to gyms closed due
         to Covid-19.
      c. Debtor’s Covid-19 response to its Limerick and Collegeville members is attached as Exhibit “B.”

 The Debtor is hoping that Covid-19 restrictions will soon relax for health and fitness clubs based on the White
 House recommendations and on the recent medical research as set forth on the University of Virginia report,
 attached as Exhibit “C.”




              B. Liquidation Analysis
                To confirm the Plan, the Court must find that all creditors and equity interest holders who do not accept the
                Plan will receive at least as much under the Plan as such claim and equity interest holders would receive in
                a chapter 7 liquidation.

                A liquidation analysis is attached as EXHBIIT “D.” THE LIQUIDATION ANALYSIS IS BASED ON THE
                SALE OF THE EQUIPMENT AT LIMERICK AND COLLEGEVILLE AS PER THE EQUIPMENT VALUES IN
                THE ATTACHEDEQUIPMENT VALUES SET FORTH IN EXHIBIT “E,” ATTACHED.


              C. Ability to make future plan payments and operate without further reorganization
                The Debtor shows that it will have enough cash over the life of the Plan to make the required Plan
                payments and operate the debtor’s business. Therefore, the Plan is feasible.

                The Debtor has provided projected financial information as set forth on Exhibit “A,” on tab 1, Plan to Move
                Forward.

                The Debtor’s financial projections show that the Debtor will have projected disposable income (as
                defined by § 1191(d) of the Bankruptcy Code) for the period described in § 1191(c)(2) as set forth on
                Exhibit “A, ” tab 1, Plan to Move Forward.

                The final Plan payment is expected to be paid in 2025.




Official Form 425A                      Plan of Reorganization for Small Business Under Chapter 11             page 4
         Case 20-10014-mdc                      Doc 146         Filed 04/22/20 Entered 04/22/20 23:59:53                   Desc Main
                                                               Document     Page 5 of 13
Debtor Name BODY TRANSIT, INC. D/B/A/ RASCALS FITNES                        _               Case number 20-100014 ELF                     _



             Article 1: Summary

            This Plan of Reorganization (the Plan) under chapter 11 of the Bankruptcy Code (the Code) proposes to pay
            creditors of BODY TRANSIT, INC. from CASH FLOW OPERATIONS.
            This Plan provides for:             1               classes of priority claims;
                                                1               classes of secured claims;
                                                0
                                                                classes of non-priority unsecured clams; and
                                                0
                                                                classes of equity security holders.



            Non-priority unsecured creditors holding allowed claims will receive distributions, which the proponent of this
            Plan has valued at approximately .0 cents on the dollar. This Plan also provides for the payment of
            administrative and priority claims.

            All creditors and equity security holders should refer to Articles 3 through 6 of this Plan for information
            regarding the precise treatment of their claim.

            Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
            have one. (If you do not have an attorney, you may wish to consult one.)


             Article 2: Classification of Claims and Interests

2.01   Class 1 ...................................... All allowed claims entitled to priority under § 507(a) of the Code (except administrative
                                                expense claims under § 507(a)(2), and priority tax claims under § 507(a)(8)). THIS
                                                CLASS INCLUDES ALL ATTORNEYS FEES SUBCHAPTER V TRUSTEE FEES
                                                AND ACCOUNANT FEES AND ANY ADDITIONAL PROFESSIONAL FEES
                                                APPROVED BY THE COURT PRE OR POST CONFIRMATION.

                                                THESE CLAIMS SHOULD BE PAID IN THE APPROXIMATE AMOUNT OF
                                                $60,000.00




2.02   Class 2 ...................................... The claim of
                                                                FIRST BANK IN THE AMOUNT OF
                                                                $317,573.82 PER THE VALUATION
                                                                MOTION, to the extent
                                                allowed as a secured claim under § 506 of the Code AND THE Valuation Motion.

2.03   Class 3 ...................................... All non-priority unsecured claims allowed under § 502 of the Code.
ESTIMATED IN THE AMOUNT OF $0.00



2.04   Class 4 ...................................... Equity interests of the Debtor in the amount of $0.00




             Article 3: Treatment of Administrative Expense Claims, Priority Tax Claims, and Quarterly and Court Fees

                                                3.02   Administrative expense claims
3.01   Unclassified claims



Official Form 425A                               Plan of Reorganization for Small Business Under Chapter 11                      page 2
        Case 20-10014-mdc               Doc 146         Filed 04/22/20 Entered 04/22/20 23:59:53                              Desc Main
                                                       Document     Page 6 of 13
Under section §                         are not in classes.
Debtor Name BODY TRANSIT, INC. D/B/A/ RASCALS FITNES
1123(a)(1),                                                            _                Case number 20-100014 ELF                               _

administrative                          Each holder of an administrative expense claim allowed under § 503 of the Code, will
expense claims, and                     be paid in full over the life of the Plan in cash, or upon such other terms as may be
priority tax claims                     agreed upon by the holder of the claim and the Debtor.
                                        3.04   Statutory fees

                                        Each holder of a priority tax claim will be paid --           THERE ARE NO PRIORITY
                                        TAX CLAIMS.

                                        All fees required to be paid under 28 U.S.C. § 1930 that are owed on or before the
3.03   Priority tax claims
                                        effective date of this Plan have been paid or will be paid on the effective date.



3.05   Prospective quarterly fees
                                        All quarterly fees required to be paid under 28 U.S.C. § 1930(a)(6) or (a)(7) will accrue
                                        and be timely paid until the case is closed, dismissed, or converted to another chapter
                                        of the Code.
           Article 4: Treatment of Claims and Interests Under the Plan

4.01 Claims and interests shall be treated as follows under this Plan:


                                       Class                          Impairment        Treatment
                                       Class 1 - Priority claims      ❑ Impaired      Class 1 Priority Claim will be paid in full, in cash, upon the later
                                       excluding those in Article 3                   of the effective date of this Plan, or the date on which such
                                                                      XX Unimpaired
                                                                                      claim is allowed by a final non-appealable. ALL CLAIMS
                                                                                      FILED AS OF THE DATE OF THIS AMENDED PLAN ARE
                                                                                      FINAL CLAIMS AND ALL FUTURE FILED CLAIMS SHALL BE
                                                                                      BARRED.



                                       Class 2 – Secured claim of                     XX Impaired
                                       FIRST BANK
                                                                                      ❑ Unimpaired
                                       STRIPPED DOWN TO THE
                                       VALUE TO THE AMOUNT
                                       OF FIRST BANK’S
                                       COLLATERAL

                                       UNIVEST BANK
                                       PRE-POST PETITION
                                       FINANCING
                                       XX IMPAIRED
                                       EQUIPMENT VALUE
                                       DIMINISHED

                                       Class 3 – Non-priority
                                       unsecured creditors

                                          IMPAIRED – NO
                                       PAYMENTS TO
                                       UNSECURED
                                       CLAIMS

                                       Class 4 - Equity security
                                       holders of the Debtor

                                       THERE ARE NO
                                       EQUITY SECURITY
                                       HOLDER CLAIMS




Official Form 425A                       Plan of Reorganization for Small Business Under Chapter 11                                    page 3
        Case 20-10014-mdc               Doc 146         Filed 04/22/20 Entered 04/22/20 23:59:53                Desc Main
                                                       Document     Page 7 of 13
Debtor Name BODY TRANSIT, INC. D/B/A/ RASCALS FITNES              _                Case number 20-100014 ELF                   _




           Article 5: Allowance and Disallowance of Claims


5.01   Disputed claim
                                        A disputed claim is a claim that has not been allowed or disallowed [by a final non-
                                        appealable order], and as to which either:

                                        (i) a proof of claim has been filed or deemed filed, and the Debtor or another party in
                                            interest has filed an objection; or
                                        (ii) no proof of claim has been filed, and the Debtor has scheduled such claim as
                                             disputed, contingent, or unliquidated.
5.02   Delay of distribution on a       No distribution will be made on account of a disputed claim unless such claim is
       disputed claim                   allowed IF NOT FILED BY THE DATE OF THE FILING OF THIS AMENDED
                                        PLAN
5.03   Settlement of disputed
       claims

                                        The Debtor will have the power and authority to settle and compromise a disputed
                                        claim with court approval and compliance with Rule 9019 of the Federal Rules of
                                        Bankruptcy Procedure.
           Article 6: Provisions for Executory Contracts and Unexpired Leases




Official Form 425A                      Plan of Reorganization for Small Business Under Chapter 11                    page 4
        Case 20-10014-mdc               Doc 146         Filed 04/22/20 Entered 04/22/20 23:59:53                Desc Main
                                                       Document     Page 8 of 13
Debtor Name BODY TRANSIT, INC. D/B/A/ RASCALS FITNES              _                Case number 20-100014 ELF                      _




6.01 Assumed executory
                                        (a) The Debtor assumes, and if applicable assigns, the following executory
       contracts and unexpired              contracts and unexpired leases as of the effective date:
       leases                                LEASE BETWEEN DEBTOR AND BRIXMOOR FOR COLLEGEVILLE LOCATION.


                                             PRE/POST PETITION FINANCING EQUIPMENT AGREEMENT WITH UNIVEST
                                             BANK FOR ADDITIONAL EQUIPMENT FOR COLLEGEVILL LOCATION.

                                        (b) Except for executory contracts and unexpired leases that have been assumed,
                                            and if applicable assigned, before the effective date or under section 6.01(a) of
                                            this Plan, or that are the subject of a pending motion to assume, and if
                                            applicable assign, the Debtor will be conclusively deemed to have rejected all
                                            executory contracts and unexpired leases as of the effective date.
                                             A proof of a claim arising from the rejection of an executory contract or
                                             unexpired lease under this section must be filed AS OF THE
                                             FILING OF THIS PLAN ON APRIL 22, 2020.

           Article 7: Means for Implementation of the Plan

                                        DEBTOR WILL FUND THE PLAN FROM THE INCOME FROM MEMBERSHIP FEES OBTAINED
                                        AFTER THE SHUTDOWN FROM THE COVID-19 EPIDIMIC, AS PER THE ATTACHED
                                        SPREADSHEET FILED AS EXHIBIT “A.”


           Article 8: General Provisions


8.01   Definitions and rules of
                                        The definitions and rules of construction set forth in §§ 101 and 102 of the
       construction                     Code shall apply when terms defined or construed in the Code are used in
                                        this Plan, and they are supplemented by the following definitions:


8.02   Effective date
                                        The effective date of this Plan is the first business day following the date that
                                        is 60 days after the entry of the confirmation order DUE TO THE COVID-19
                                        SHUTDOWN. If, however, a stay of the confirmation order is in effect on that
                                        date, the effective date will be the first business day after the date on which
                                        the stay expires or is otherwise terminated. IF HOWEVER THE COVID-19
                                        PANDEMIC RESURFACES IN THE FALL OF 2020, THE DEBTOR
                                        RESERVES ITS RIGHT TO AMEND ITS PLAN TO ACCOMMODATE ANY
                                        FURTHER COVID-19 SHUTDOWN.

8.03   Severability
                                        If any provision in this Plan is determined to be unenforceable, the
                                        determination will in no way limit or affect the enforceability and operative
                                        effect of any other provision of this Plan.

8.04   Binding effect
                                        The rights and obligations of any entity named or referred to in this Plan will
                                        be binding upon and will inure to the benefit of the successors or assigns of
                                        such entity.

8.05   Captions
                                        The headings contained in this Plan are for convenience of reference only and
                                        do not affect the meaning or interpretation of this Plan.

[8.06 Controlling effect          Unless a rule of law or procedure is supplied by federal law (including the Code or
                                  the Federal Rules of Bankruptcy Procedure), the laws of the State of
                                  PENNSYLVANIA govern this Plan and any agreements, documents, and
                                  instruments executed in connection with this Plan, except as otherwise
                                  provided in this Plan.
Official Form 425A                      Plan of Reorganization for Small Business Under Chapter 11                       page 5
       Case 20-10014-mdc                Doc 146         Filed 04/22/20 Entered 04/22/20 23:59:53               Desc Main
                                                       Document     Page 9 of 13
Debtor Name BODY TRANSIT, INC. D/B/A/ RASCALS FITNES              _                Case number 20-100014 ELF                _




Official Form 425A                      Plan of Reorganization for Small Business Under Chapter 11                 page 6
       Case 20-10014-mdc                Doc 146 Filed 04/22/20 Entered 04/22/20 23:59:53                       Desc Main
                                               Document    Page 10 of 13
Debtor Name BODY TRANSIT, INC. D/B/A/ RASCALS FITNES              _                Case number 20-100014 ELF                _




[8.07 Corporate governance
                                        THE DEBTOR IS AN “S” CORPORATION ORGANIZED UNDER THE LAWS OF THE
                                        COMMONWEALTH OF PA AND ALL FEDERAL IRS GUIDELINES.




Official Form 425A                      Plan of Reorganization for Small Business Under Chapter 11                 page 7
       Case 20-10014-mdc                Doc 146 Filed 04/22/20 Entered 04/22/20 23:59:53                              Desc Main
                                               Document    Page 11 of 13
Debtor Name BODY TRANSIT, INC. D/B/A/ RASCALS FITNES                  _                   Case number 20-100014 ELF                _




 [8.08 Retention of Jurisdiction
                                        This Court shall retain jurisdiction until substantial consummation of the Debtor’s Plan
                                        post confirmation.

           Article 9: Discharge

                                                 [Include the appropriate provision in the Plan]

                                           [No Discharge -- Section 1141(d)(3) IS applicable.]


 In accordance with § 1141(d)(3) of the Code, the Debtor will not receive any discharge of debt in this bankruptcy
 case.



                       [Discharge -- Section 1141(d)(3) IS NOT applicable; use one of the alternatives below]
                                                            SEE BELOW




Official Form 425A                      Plan of Reorganization for Small Business Under Chapter 11                        page 8
       Case 20-10014-mdc                Doc 146 Filed 04/22/20 Entered 04/22/20 23:59:53                        Desc Main
                                               Document    Page 12 of 13
Debtor Name BODY TRANSIT, INC. D/B/A/ RASCALS FITNES                   _            Case number 20-100014 ELF                _




 XXXXXX [Discharge if the Debtor is a corporation under Subchapter V]

 If the Debtor’s Plan is confirmed under § 1191(a), on the effective date of the Plan, the Debtor will be discharged from any
 debt that arose before confirmation of this Plan, to the extent specified in § 1141(d)(1)(A) of the Code, except that the
 Debtor will not be discharged of any debt:
                  (i) imposed by this Plan; or
                  (ii) to the extent provided in § 1141(d)(6).

 If the Debtor’s Plan is confirmed under § 1191(b), confirmation of this Plan does not discharge any debt provided for in this
 Plan until the court grants a discharge on completion of all payments due within the first 3 years of this Plan, or as
 otherwise provided in § 1192 of the Code. The Debtor will not be discharged from any debt:
                  (i) on which the last payment is due after the first 3 years of the plan, or as otherwise provided in § 1192;
                  or
                  (ii) excepted from discharge under § 523(a) of the Code, except as provided in Rule 4007(c) of the
                  Federal Rules of Bankruptcy Procedure.




           Article 10: Other Provisions

                                        [Insert other provisions, as applicable.]

THE DEBTOR’S PLAN CONTEMPLATES A COVID-19 LAG TIME FOR PLAN PAYMENTS WITH PAYMENTS RAMPING UP WITHIN 120
DAYS AFTER A FULL RELAXATION OF COVID RESTRICTIONS – MINIMAL PLAN PAYMENTS HOWEVER BEGIN WITHIN 60 DAYS
AFTER RELAXATION OF FULL COVID RESTRICTIONS . DEBTOR RETAINS ITS RIGHT TO AMEND THIS PLAN WITHIN ONE (1) TO
THREE (3) YEARS TO ASSESS THE EFFECTS OF THE COVID-19 EPIDEMIC AND A POTENTIAL RELAPSE OF SUCH IN THE
FALL/WINTER OF 2020.



      Respectfully submitted, MAGGIE S. SOBOLESKI, ESQ.




Official Form 425A                      Plan of Reorganization for Small Business Under Chapter 11                  page 9
       Case 20-10014-mdc                 Doc 146 Filed 04/22/20 Entered 04/22/20 23:59:53                        Desc Main
                                                Document    Page 13 of 13
Debtor Name BODY TRANSIT, INC. D/B/A/ RASCALS FITNES                _                Case number 20-100014 ELF               _



                                  
                 [Signature of the Plan Proponent]                         [Printed Name]



               /s/ Maggie S. Soboleski
                 [Signature of the Attorney for the Debtor]               [Printed Name]




Official Form 425A                        Plan of Reorganization for Small Business Under Chapter 11                 page
                                                                                                                     10
